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United States Courts
IN THE US SOUTHERN DISTRICT COURT Southern Dist of Texas
HOUSTON DIVISION, TEXAS
Willie Terion Washington AUG 09 202%
Petitioner
Vv. No. H-07-CV-07 giyathan Ochsnay, Clerk of Gout!

Lorie Davis,Director,
Texas Department Of Criminal Justice

Respondent

Motion To Dismiss All Counsel

Comes now,Willie T. Washington,the petitioner in the above cause,requesting of this court
the dismissal/removal of all appointed counsel in this matter for the following stated:
The defendant/petitioner has informed counsel,James C. Lohman,Jeremy Schepers,ét al,within
his office that the trial record has been altered. Defendant has also informed this court
of same during the 2008 STATUS HEARING. Counsel from the Texas Defender Service,Bryce
Benjet ,Jim Marcus,et al,within his office/firm of same. Counsel,Gary Neale Reger,was
informed that the trial-record had been altered & stated where in record. Defendant informed
The Harris County D.A.'s office;State Attorney Generals Office;Committee Of Judges in/of
Conroe, Texas; trial-counsel,Reo Harris Jr. & Second Chair counsel ,Mr.Goberman;trial-judge

Pat Lykos;State Bar Of Texas Investigator,Robert Smith;Court Of Criminal Appeals.

It is the belief of Willie T. Washington,that all coumsel,past & present had/has taken

the position of ignoring his claim's/concerns for the benefit of filing a pay voucher

& refusing to investigate witnesses that can prove defendants concerns & thase being ,Mary
Drake & the trial-jury. The.entire time counsel from the Capital Habeas Unit has been

on the defendants case lies have been told claiming they couhdn't investigate/speak/involve
the jury or my accusing witness,but noboidy saught,Mary Drake,so that defendant could

prove that,Mary Drake,did testify to the jury/in the presence of the jury. This matter

& point was/is too urgent not to investigate. Also to investigate if at all,Mary Drake,told,
Detective Doug Osterberg,that she saw,Willie T. Washington,use drugs as reflected in

his report. Counsel appointed by the courts has repeatedly denied the defendant due process
& knowingly so for the purpose of filing their voucher's & being paid to be on defendants
case,Willie T. Washington. This matter has been plead by the defendant since 1990 (when
acquired the trial-record/transcript) & done so because he feels it's his dutyy& obligation
to give this notice to all involved with defendants case. Counsel (all) refuse to act

on defendants claim. Willie T. Washington,requests that none reciéve payment in/for the
case/cause reflected above & appointed by this court. They hadn't earned a pemny, but

ignored defendant for the purpose of filing a voucher for pay & not even filing requesting

viewing the D.A. file under "Policies & Practices" justifies their payment in this matter.
J
. /Date: { f

   

Signed:
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NORTH HOUSTON TX P73

Polunsky Unit,3872 FM 350 South

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United States Courts
Southern District of Texas
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AUG 09 2024

Mathan Ochsner Clerk of Gaur.

Legal Mail Privileged Claimed

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Clerk
U.S. Southern District Court
Post Office Box # 61010

Houston, Texas @RaGaee ffr0s

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